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                                           Wednesday, 09 September, 2009 02:37:53 PM
                                                         Clerk, U.S. District Court, ILCD

1                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF ILLINOIS
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5     UNITED STATES OF AMERICA,                 )
                                                )
6                           Plaintiff,          ) Criminal No.
                                                ) 09-10030
7                vs.                            ) Peoria, Illinois
                                                )
8     ALI SALEH KAHLAH AL-MARRI,                )
                                                )
9                           Defendant.          )
10
11
12                     TRANSCRIPT OF PROCEEDINGS
                           September 3, 2009
13
14
15                                 BEFORE:
16                      HONORABLE MICHAEL M. MIHM
                       United States District Judge
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1                                 APPEARANCES:
2
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                                   -- and --
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      Proceedings recorded by mechanical stenography, transcript
25    produced by computer
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1                THE COURT: Good morning. This is the case of
2     the United States of America vs. Ali Saleh Kahlah
3     Al-Marri, criminal number 09-10030. The defendant is in
4     court represented by his attorneys, Lee Smith, Andrew
5     Savage and Lawrence Lustberg. The United States is
6     represented by David Risley and Sharon Lever.
7                The matter is set today for a hearing on various
8     matters. I wanted to take a moment at the beginning and
9     kind of walk through what's happened since the last court
10    hearing.
11               The last court hearing occurred on July 24 and
12    following that, based on the guidelines set by the Court,
13    on July 30 the Government filed its written response to
14    the defendant's discovery request.
15               Then on August 11 the Court received the first
16    batch of classified documents along with a request for a
17    protective order. I reviewed those documents, reviewed
18    them carefully, and my review led me to certain questions
19    and a need to clarify certain issues.
20               So then on the 13th of August, pursuant to CIPA
21    Section 4, the Court held an ex-parte phone call with
22    counsel for the Government. During that phone call, the
23    Court asked the questions that I wanted to ask. I
24    received answers for those questions. I also made
25    recommendations concerning the supplementation of certain
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1     summaries that the Government was proposing be provided to
2     defense counsel. I think there were 14 in all. I could
3     be wrong, but I think 14. Each of those recommendations
4     was ultimately approved and included in the unclassified
5     summaries that were provided. The Court -- I received
6     word that that was going to happen the same day, so the
7     Court entered the protective order that day on the 13th of
8     August and the unclassified summaries were provided to the
9     defense, I believe, the same day.
10               Then on August 17 the defendant filed his motion
11    to compel, which was basically a response to the
12    Government's written response that had been -- the
13    Government's response to the discovery request that the
14    Government had filed on July 30.
15               Then on August 28 the Court received the second
16    batch of classified documents and a video of an
17    interrogation. I think that was on a Friday. I received
18    it on late Friday. The Court viewed and read all of the
19    material on Monday.
20               On Tuesday of this week I had an ex-parte phone
21    conference with counsel for the Government. During the
22    call, the Court again had questions that I posed. I did
23    receive answers to those questions. I also made
24    recommendations concerning the supplementation or
25    clarification of certain items and, unfortunately, I still
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1     don't have a response to that. So there are some matters
2     that are still hanging concerning the second batch of
3     classified information. Can I reasonably expect that
4     there will be a response say early next week sometime at
5     the latest?
6                MS. LEVER: Yes, Your Honor. We are working
7     with the agency involved and we believe we have an
8     agreement. We just need final approval and we will
9     attempt to get that to you first thing next week.
10               THE COURT: Thank you. Well, obviously I'm not
11    happy about the fact that I'm going into this hearing
12    without knowing that and, as I understand it, there was
13    some effort, according to the representations made by
14    Government counsel, that there was some effort to try to
15    resolve some of these issues that apparently didn't
16    succeed, but it's unfortunate that I don't have the
17    responses today so that I could more fully address all of
18    the arguments. But, anyway, that's where we are.
19               In the defendant's motion to compel -- well,
20    before I get to that, let me ask one other thing. Let me
21    ask counsel for the Government. What discovery has been
22    provided to the defense since our last hearing? I know
23    that the summaries, these 14 summaries, were submitted.
24    There was also a reference to some -- some suggestion of
25    other material that was handed over, but I don't
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1     understand what it was. Could someone clarify that for
2     me?
3                MR. RISLEY: Your Honor, I can address the
4     unclassified side of things. Since the time -- I believe
5     it was since the time we last met, Mr. Savage and some of
6     his staff came to our office and have viewed all of the
7     physical items of evidence that we had that were deemed
8     relevant to either side in the sentencing hearing or for
9     that matter that we had stored there for purposes of the
10    trial had the case gone to trial. So that's happened.
11    That included -- well, that included an examination,
12    without looking at the contents, of electronic disks that
13    were seized at the time of the search of the defendant's
14    apartment and the seizure of his computer, things of that
15    sort. So on the unclassified side of things, those things
16    have happened to make sure we haven't left any stone
17    unturned. On the classified side, Ms. Baltes handled that
18    and I'll let Sharon Lever address that side of things.
19               THE COURT: Thank you.
20               MS. LEVER: Your Honor, there are still some
21    items that are outstanding. We have had some technical
22    difficulties obtaining certain information that we are
23    trying to provide to the defense. We are working with the
24    Department of Defense to try to resolve those technical
25    difficulties. In the event we're not able to provide the
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1     electronic copy that we are seeking to provide,
2     instructions are being given that people need to get in
3     front of a copy machine and start copying paper. So we
4     are hoping to have that resolved in the next week.
5                THE COURT: Well, I appreciate that information,
6     but my question is what classified information has been
7     turned over in addition to the 14 summaries.
8                MS. LEVER: Your Honor, no classified
9     information has been turned over. Only the 14 summaries.
10               THE COURT: Well, there was some reference
11    somewhere to a very large number of documents, perhaps in
12    the --
13               MS. LEVER: That's the documents, Your Honor,
14    that I was referring to that we have had technical
15    difficulty in terms of getting it downloaded
16    electronically, which is I think how everybody preferred
17    to provide the information.
18               THE COURT: Then there was also a reference to
19    like 600 pages of something, whether those were
20    representative pages, sample pages or --
21               MS. LEVER: Those have been turned over to the
22    defense, Your Honor, and they were representative of the
23    documents that were contained in the larger number of
24    documents and what we had requested was that we receive
25    information relative to what further documentation they
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1     would want and then we discovered this technical, this
2     electronic database, and I think we were going to try to
3     provide that which would have covered everything, but we
4     have run into problems as I said.
5                THE COURT: And you're telling me that that
6     problem will be resolved by next week?
7                MS. LEVER: We are attempting to resolve it,
8     Your Honor. I have had conversations with defense counsel
9     about what specific documents they want and if we are
10    unable to resolve the electronic database, we will make
11    physical copies of those.
12               THE COURT: Well, if it comes down to that, then
13    I expect that that will be given a high priority and that
14    the copies will be made expeditiously. The Department of
15    Defense has to give this a high priority.
16               MS. LEVER: Yes, Your Honor. We will repeat
17    that to them.
18               THE COURT: All right. Before I go any further
19    then, let me turn to defense counsel and ask you if
20    there's anything you would like to add or differ with
21    concerning the status of the materials that you have
22    received or not received.
23               MR. LUSTBERG: Well, Judge, obviously we have
24    our application, which I know that's not what we're
25    dealing with right at this moment, but let's just say
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1     this. You know, the discovery that Mr. Risley referred to
2     was part of the original discovery, for lack of a better
3     word, regarding the merits of the case. The discovery I
4     think we're here talking about today and I think the Court
5     is inquiring about is the discovery that we requested in
6     connection with sentencing.
7                We have received some documents including
8     disciplinary reports and some other documents. That's the
9     600 pages that the Court referred to earlier. The large
10    volume of documents that Your Honor was asking about, we
11    understand these technical difficulties that have been
12    going on for really quite some time and because it's a
13    large volume of documents and because let's -- we want the
14    Court to be clear that we do not want this sentencing
15    adjourned. We want to get our hands on those documents as
16    quickly as possible so that we can keep to the sentencing
17    date the Court has set. Mr. Al-Marri very much wants to
18    proceed on that date. So we're really looking forward to
19    getting those documents as soon as possible and those are
20    important documents.
21               There are a couple of other issues and I don't
22    know whether Your Honor wants to address those now
23    regarding discovery. One is that we had in our original
24    discovery request asked for videos that were made of
25    Mr. Al-Marri while at the brig in particular, although
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1     maybe at Pekin as well, that would document the conditions
2     under which he was confined. In particular, there were
3     cameras in his cell, in the day room, and at times hand
4     held cameras that essentially recorded his every move.
5     Obviously these videos are voluminous. There are many.
6     We have had some conversations with the Government about
7     getting those videos so that we could view them and --
8                 THE COURT: What is the status of that?
9                 MR. LUSTBERG: The Government requested that we
10    itemize -- that we itemize which specific videos that we
11    wanted. We responded that we really were unable to do
12    that and we really wanted to have access to all of them.
13    I believe --
14                THE COURT: But as I understand it, what you're
15    saying is you wanted a video or videos that would
16    accurately portray, for example, what his cell was like at
17    the brig.
18                MR. LUSTBERG: Well, actually it would of course
19    have that effect, but really what we're -- let me lay it
20    out for the Court so there's no mystery as to exactly what
21    it is we were wishing to show through those videos.
22                The videos from his early days, in particular at
23    the brig, would we believe document the very harsh
24    conditions under which he was held. The videos, by
25    contrast, towards the ends of the time at the brig would
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1     show the relatively better conditions in which he existed,
2     in particular the relatively greater freedom that he had,
3     something that we never disputed, but which we will argue
4     to Your Honor at sentencing shows the transformation such
5     that the Government authorities there at the brig actually
6     came to trust him and view him as not a dangerous inmate.
7     So it's important for us to view those videos so that we
8     can make precisely those arguments. I spoke to Ms. Lever
9     about that this morning. We are attempting to work out a
10    protocol whereby perhaps Mr. Savage can view those videos.
11                THE COURT: Well, first of all, do those videos
12    exist?
13               MS. LEVER: Yes, they do, Your Honor.
14               THE COURT: Thank you. Go ahead.
15               MR. LUSTBERG: So we are attempting to work out
16    a protocol with the Government whereby perhaps Mr. Savage
17    can view them at the brig if that's where they are.
18    Ideally and it is our position that Mr. Al-Marri should
19    have access to those videos so he can view them and assist
20    us because the truth is he was there and he is the most
21    valuable witness who can explain to us exactly what we're
22    watching, so our request has always been to have those
23    videos produced to Mr. Al-Marri or to us here so that we
24    can review them with him. But that's an outstanding issue
25    as well.
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1                THE COURT: Well, what needs to be done to
2     resolve that?
3                MS. LEVER: Your Honor, there are thousands of
4     hours of videotape. All we asked was for somebody to give
5     us some time frames so that we could review the
6     videotapes, especially during the parts of the
7     confinement, to determine that there were no classified
8     matters which existed on the tapes and then after that we
9     were not going to have an issue with turning them over,
10    but we can't go through thousands and thousands and
11    thousands of hours.
12               THE COURT: Are they dated?
13               MS. LEVER: Yes, they are.
14               THE COURT: Why can't you pick a couple in the
15    first 30 days and then say six months later, a year later,
16    then all the way down the line, just have a couple of
17    representative samples?
18               MS. LEVER: We asked the defense to do that,
19    Your Honor, and that's what we --
20               THE COURT: Well, you don't have a response back
21    from them yet?
22               MS. LEVER: Mr. Lustberg and I discussed that
23    this morning as to what the best way to handle it would
24    be.
25               THE COURT: That doesn't mean they have to go
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1     through all these things. They could just select some at
2     random from various time periods. Would that be agreeable
3     with you --
4                MR. LUSTBERG: I'm going to let Mr. Savage --
5                THE COURT: -- at least to begin with?
6                MR. SAVAGE: Good morning, Judge. Andy Savage,
7     Your Honor. Thank you. Your Honor, we received those
8     summaries that you had approved a week or two ago and
9     recollection of those summaries would indicate that there
10    were behavioral and compliance problems on the part of
11    Mr. Al-Marri. What we are seeking in those videos is the
12    reason, the underlying cause of those non-compliance
13    problems. For example, the environmental factors when
14    Mr. Al-Marri was first housed there, a lack of daylight
15    for the first nine months or year, the constant awakening
16    of him and interrupting of his sleep, the placement of
17    devices by his cell which would disrupt his --
18               THE COURT: I understand why you want them. My
19    question is what I've suggested here, is that agreeable to
20    you as a place to start so we can get this thing moving?
21               MR. SAVAGE: I think it is. What I think -- I
22    have not had an opportunity to speak to our client.
23    Mr. Lustberg and the Government's representative met this
24    morning and I believe if we could go out and randomly
25    select arbitrary dates within certain time parameters and
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1     look at those to see if it -- the brig has been very
2     helpful to us and I believe that brig representatives can
3     direct us in the same sense that Mr. Al-Marri could if he
4     had been there in finding these specific clips of video
5     that I think would be helpful to the Court.
6                THE COURT: Well, I want counsel to confer
7     further about this after the hearing today and whatever is
8     going to be done, I want you to agree to it, the process
9     and the substance of what's going to occur, within the
10    next seven days. If you can't do that, then you bring the
11    dispute to me and I'll resolve it.
12               MR. SAVAGE: Thank you, Your Honor.
13               MS. LEVER: Thank you, Your Honor.
14               THE COURT: All right. Now do you have any
15    other comments about --
16               MR. LUSTBERG: The only other thing that I just
17    wanted the Court to be aware of is that there has been an
18    ongoing -- we have had certain requests for interviews of
19    Government personnel. I have discussed that as well with
20    Ms. Lever today and I believe we are in the process of
21    working out a means for us to have access to those
22    personnel that we wish to interview. Candidly, Judge,
23    there are certain personnel from the brig we were
24    considering calling as witnesses at the sentencing
25    hearing. It may be that for reasons of their convenience
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1     and otherwise, we may choose to do that some other way,
2     whether by video or by letter or whatever. But I'm
3     confident that that's the sort of thing that we'll be able
4     to work out with the Government. We will keep the Court
5     apprised. Again, if there are any disputes, we will bring
6     them to the Court's attention. At this moment I think
7     we're on the road to resolving that in an amicable way,
8     but I did want the Court to be aware of that.
9                THE COURT: That's great and I certainly
10    encourage working things out, but I would just say sooner
11    rather than later so if there's a dispute I can resolve it
12    and the resolution of it will leave enough time to do
13    whatever the Court directs so that we can --
14               MR. LUSTBERG: In that connection, Your Honor,
15    we're very well aware our sentencing memorandum is due to
16    the Court on October 16, so it's our intention to have all
17    of our materials assembled by then and we're working
18    toward that date and I know the Government is.
19               THE COURT: While we're talking about the
20    sentencing date, the sentencing has been scheduled for
21    10-29 and 10-30, which is a Thursday and Friday. It
22    occurred to us that it would be better not to have the
23    second day on a Friday and, as I understand it, my
24    secretary has been in touch with all of you and everyone
25    has agreed to change the dates to the 28th and 29th, which
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1     would be a Wednesday and Thursday. Is that correct?
2                MR. LUSTBERG: Yes, Your Honor.
3                THE COURT: All right. Well, it seems to me in
4     terms of what we're going to do from this moment on this
5     morning then is, first of all, there is -- in your motion
6     to compel, first of all, you're asking me to reconsider
7     the ruling that I made when I entered the first protective
8     order and I would like to give you an opportunity now to
9     argue that matter orally.
10               MR. LUSTBERG: Thank you, Your Honor. I
11    appreciate that. Obviously, just to back up a bit, when
12    Your Honor first set the schedule for how this was all
13    going to proceed, I'm not sure any of us contemplated that
14    in the middle of it would be this ex-parte process whereby
15    the Government would seek a protective order.
16               THE COURT: Well, that surprised me a little
17    bit, but it's clearly contemplated in the law. Let me
18    finish. And I can't speak for other judges, but usually
19    when I do something like that in camera, I always have
20    questions and I need to have those questions answered. Go
21    ahead.
22               MR. LUSTBERG: I appreciate that. So when we
23    initially crafted this motion, it was not designed to be a
24    motion for reconsideration. It was our response, as Your
25    Honor had directed, to the Government's discovery
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1     response.
2                 THE COURT: Sure.
3                 MR. LUSTBERG: The summaries that we have
4     received, of course we have no way of knowing how those
5     compare to the underlying classified documents. Only this
6     Court has -- well, the Government, but of course Your
7     Honor has seen both and has been able to view them. We
8     have no way of knowing that. What we have in front of us,
9     however, is a set of documents that are troubling to us in
10    their vagueness. I'm going to point the Court to certain
11    examples in that regard, but --
12                THE COURT: Hold on just a minute. Go ahead.
13                MR. LUSTBERG: Obviously I think we're all on
14    the same page in terms of understanding why it is that the
15    defense has sought these documents. I don't think that
16    the Court's ruling in any -- and I don't know, but I don't
17    think the Court's ruling based upon the order was in any
18    manner a criticism of why it is that we need these
19    documents and want these documents in the first place.
20    The question is do they get us there.
21                When I say do they get us there, the standard
22    under CIPA which Your Honor was attempting to apply was
23    that the Court needed to find -- I'm reading from CIPA
24    Section 6 C, Section 6(c)(1). It says that the Court can
25    grant a summary of this sort if it will provide the
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1     defendant with substantially the same ability to make his
2     defense as would the disclosure of the specific classified
3     information.
4                 As we review these documents, we have serious
5     doubts about that, some of which or most of which I
6     pointed out to the Court in our motion and I won't belabor
7     those here. Again, we have no way of knowing how
8     accurately they capture what it is that was actually on
9     the underlying documents, but let me point the Court to a
10    couple of examples.
11                In the very first one, which is from a document
12    dated September 15, 2003, it discusses that the guards
13    observed Mr. Al-Marri, quote, "noticeably shaken" by what
14    the interrogator had told him. It doesn't, however, say
15    what it was that the interrogator told him. And since
16    what our -- what we intend to show at sentencing is the
17    way he was treated more than his response, that's critical
18    information that to us is lacking from that document.
19                Again, I'm repeating myself, but we obviously
20    don't know what was in the original underlying document.
21    But it strikes me that the way he was treated, that's the
22    crux of what we need with respect to that particular
23    document.
24                THE COURT: Of course your request presumes that
25    the answer to that question is in the document.
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1                MR. LUSTBERG: We have no idea.
2                THE COURT: Right. I understand.
3                MR. LUSTBERG: Similarly, there's a -- these are
4     just examples. We pointed out almost all of them in our
5     submission to the Court. But if you look at the document
6     dated February 6, 2004, it ends with the following
7     statement: "The agent has been with Mr. Al-Marri through
8     15 prolonged sessions, many lasting ten hours or more."
9     It may be that that's all that was in that document, but
10    if there were 15 prolonged sessions, many lasting ten
11    hours or more, one would expect that there would be some
12    description of at least some of those sessions and that
13    obviously is exactly the sort of information we have been
14    requesting.
15               I should say that one of the reasons that we
16    requested video, as Mr. Savage has pointed out, is so that
17    we can test the truthfulness of some of these
18    representations of what occurred or the completeness of
19    the story that's told by these summaries because some of
20    them disparage Mr. Al-Marri, which we think is certainly
21    explainable by the facts that occurred and some of them,
22    by Mr. Al-Marri's account, are simply false, but that's --
23    but it's important for us in order to be able to do that
24    to have as complete a version of what occurred on each of
25    those dates as is possible and, respectfully, these
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1     summaries just leave us at sea.
2                Again, we don't know whether every relevant
3     factor is in there. We trust that the Court has done its
4     best to provide us with what Your Honor thought we needed,
5     but I thought it would be helpful to Your Honor if we
6     explained what it is we were after so that the Court
7     could, if it needed to, revisit it and assure that we were
8     in fact getting everything we wanted.
9                In Your Honor's order, you reference Brady and
10    so forth and this really isn't Brady that we're talking
11    about here. This is -- these are documents that we
12    require in order to make our defense as it were in
13    connection with sentencing as a matter of constitutional
14    due process, which of course has to be balanced against
15    national security issues.
16               And let me just comment just a bit on that.
17    Some number of years ago, I received security clearance.
18    In order to get that security clearance, all my friends,
19    my neighbors, my co-workers, my family were interviewed
20    and asked about me. I was asked tons of questions. It
21    was very difficult to do, recount every single address I
22    had ever lived at, so forth, as a result of which I
23    received security clearance. Some people were amazed, but
24    that's what happened. I'm not sure that they thought the
25    country was a safer place for it, but so be it.
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1                The point is though that my understanding is
2     that I received security clearance, as Your Honor's staff
3     did for example and so forth, specifically for the purpose
4     of being able to view classified documents. To the extent
5     that they are classified and should not be made public,
6     there certainly are ways of dealing with this. There are
7     means of providing documents under seal. There's means of
8     going through court security officers to assure that
9     things are kept in a safe and secure place. There's means
10    of arguing in ways that don't make it into the public.
11    But I understood that we received security clearance
12    specifically so that we could view these documents and
13    make appropriate arguments in an appropriate form from
14    them.
15               It strikes me as odd that after all that, we're
16    being deprived of the opportunity to view these classified
17    documents notwithstanding that clearance and
18    notwithstanding the need, which the parties I think all
19    agree on and which the Court seems to agree of the
20    importance of these documents for our sentencing
21    presentation.
22               That of course applies with equal, if not
23    greater, force to the video that the Court looked at the
24    other day, parts of which by the way have already made it
25    into the public's eyes. As Your Honor may know, there was
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1     a New York Times article that I think discussed that very
2     same episode.
3                 But the bottom line is that it strikes me that
4     as the Court goes about the process of trying to balance
5     national security concerns on the one hand with the
6     defendant's due process rights on the other, that making
7     these documents available to counsel who have security
8     clearance is an appropriate way of doing that so that we
9     can respectfully assess for ourselves whether the
10    summaries are in fact adequate for our sentencing
11    purposes.
12                So that's the application that we have made with
13    respect to that set of documents. And the others, I can,
14    if Your Honor wants, go through in more detail what I see
15    as the incompleteness of those documents, but it's in my
16    papers and I don't think it's --
17                THE COURT: Well, if you have anything else you
18    would like to say orally at this point, do that and then
19    I'll give the Government a chance to respond.
20                MR. LUSTBERG: Let me just mention one more only
21    because to me it was a particularly important one and it
22    will come up again a little bit later, which is in a
23    document -- in the page that describes the document dated
24    January 19, 2004, there is a discussion about threats to
25    Mr. Al-Marri's family in the event he did not cooperate
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1     with the authorities. We now know as a result of recent
2     disclosures by the Government that that was essentially a
3     part of the interrogation techniques. And we'll talk a
4     little bit more about interrogation techniques later, but
5     those specific threats, it strikes me, are exactly the
6     kind of thing that we ought to be apprised of because it
7     is such a fundamental part of --
8                THE COURT: That's what the summary does,
9     doesn't it?
10               MR. LUSTBERG: Respectfully, I don't think the
11    summary -- I mean, I don't know because I don't know
12    what's in the underlying document, but it's vague as to,
13    in my view, as to what those threats are and if there's
14    more in the underlying document that describes
15    specifically what the threats were --
16               THE COURT: I'm not sure how vague it is. It
17    says, some of the wording there on line 3, as to if there
18    was not cooperation, what would happen. It doesn't seem
19    very vague to me.
20               MR. LUSTBERG: Well, in the second paragraph it
21    talks about was he ready to talk or allow his family in
22    Saudi Arabia and Qatar to suffer the consequences of the
23    refusal. It's those consequences that I was really
24    referring to that are not spelled out in the summary,
25    whether or not it is in the underlying document.
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1                But we have listed for Your Honor in our motion
2     some of the other issues. Another one that I recall is
3     there's a discussion of the fact Mr. Al-Marri had not seen
4     some light for some time and we wanted to know more
5     specifics about when he was -- when that commenced. But
6     as a general matter, I think we have laid it out. Again,
7     our view is that as cleared counsel we ought to have the
8     opportunity as counsel to see those things.
9                Mr. Savage correctly points out, it bears noting
10    here that at least Mr. Savage and I had security clearance
11    some time ago in connection with Mr. Al-Marri's habeas
12    petition. Then by that time it was in the District of
13    South Carolina. As cleared counsel we were permitted to
14    see certain classified documents and we handled those
15    appropriately, always pursuant to the rules. We filed
16    documents in a manner that was permitted by the relevant
17    statutes, including CIPA. I don't think there's any doubt
18    about our trustworthiness in terms of fulfilling our
19    duties as cleared counsel and I just am at a loss to
20    understand why we could view classified documents and do
21    it so responsibly in a case like that and somehow we're
22    not permitted to do so here where our client's sentence is
23    ultimately at stake.
24               I will -- I think if Your Honor wants -- I mean,
25    I have the other points in our motion to address. I can
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1     do that after if you want to take them one at a time.
2                THE COURT: Okay. Let me hear what the response
3     is.
4                MS. LEVER: Your Honor, obviously the Government
5     is constrained by the fact that the information at hand is
6     in effect classified. And before I address specific
7     points raised by Mr. Lustberg, I would let the Court know
8     that the Government stands by its CIPA Section 4 motions,
9     the accompanying declaration, this Court's very thorough
10    review of the material, the Court's suggestions which
11    ultimately determined what the Government summaries would
12    look like and the Court's order allowing the Government to
13    produce summaries in lieu of the classified discovery.
14               I would point out, Your Honor, that the standard
15    cited by the defense is the standard under CIPA Section 6
16    which contemplates a very different proceeding to CIPA
17    Section 4. CIPA Section 6 actually has to do with the
18    defense's request to use classified information in a court
19    hearing and so, therefore, the standards are different and
20    the Courts over time have treated them as different.
21               The standard under CIPA Section 4 is either
22    Brady or whether the information would be relevant and
23    helpful to the defense and not necessarily by the
24    defense's assertion of what is relevant and helpful, but
25    also taking into consideration the national security
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1     implications of the case.
2                The Government understands that both Mr. Savage
3     and Mr. Lustberg have security clearances and the fact
4     that certain classified information is not available, made
5     available to certain people, has more to do with the
6     national security implications of the information than the
7     trustworthiness of the defense. And certainly the
8     Government's arguments are not that the defense could not
9     handle the classified information, but in this context, in
10    the specific context of the information that we have
11    sought to delete from discovery, that in the terms of
12    classified information they do not have a need to know
13    and, therefore, that information is not being made
14    available to them and this Court has made that
15    determination. Your Honor --
16               THE COURT: Well, it certainly is fair to say,
17    based on what I've seen and read here, that based on their
18    arguments concerning why they want the information that it
19    is at least marginally relevant to the issue of
20    sentencing, more or less, depending on the item involved.
21    The other part of the equation is whether it's helpful or
22    not.
23               The one sticking point that I have here has to
24    do with the access by counsel to the information. Again,
25    this type of proceeding is different from other kinds of
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1     cases that I deal with. Very often, most often, in other
2     kinds of cases when the Court conducts an in camera review
3     of documents, if I determine that there is at least
4     marginal relevance, that I would commonly allow counsel to
5     see the information even if they were directed not to
6     share it with their client. As I understand it, what
7     you're saying, the fact we're talking about classified
8     information to begin with makes this a different situation
9     concerning the other part of the equation in terms of
10    what's helpful. Is that correct?
11               MS. LEVER: That's correct, Your Honor. Your
12    Honor, again obviously I can't address the specific points
13    raised by Mr. Lustberg due to the classified nature of the
14    documents, but again I would assure the Court and I would
15    assure the defense that the Government is working
16    extremely hard to provide the information that we can
17    provide to the defense. We understand what the defense
18    argument is going to be and we are mindful about discovery
19    obligations and are working towards those issues.
20               As we discussed in our hearing the other day,
21    Your Honor, there are certain things that Your Honor is
22    requiring us to do which we are in the process of trying
23    to ensure will be done and we had hoped to have it by
24    today, but unfortunately did not. Unless Your Honor has
25    any other questions, I'm not sure there is anything else I
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1     can say.
2                THE COURT: Not at this point. As I indicated
3     at the beginning, there are issues pending right now
4     concerning the second batch of documents, but I would be
5     very happy to hear any additional comments you have from
6     either side on the video interrogation and also there's a
7     request pending that defense be given access to all
8     information concerning the destruction of documents and I
9     would be happy to hear any additional comments you have.
10    Why don't we start with Mr. Lustberg.
11               MR. LUSTBERG: Thank you, Your Honor. First,
12    obviously with respect to the videotape itself, we don't
13    know much about it. There's a newspaper article about it
14    and we don't have the summary, so we can't do the kind of
15    -- I can't give you the kinds of comments I could with
16    respect to the previous summaries. I also understand
17    there may be other summaries presumably, but who knows.
18    We may have some of the same sorts of concerns, but it's
19    impossible to say at this point.
20               I would just say this though about the video.
21    If, as I believe, based upon conversations I had with
22    Ms. Baltes particularly before today, that the concern
23    with respect to showing at least counsel the underlying
24    video is that it will somehow reveal the identity of the
25    interrogators, let me reiterate my statements before that
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1     we can be trusted not to reveal those things in any kind
2     of public forum or any kind of public document if that is
3     the only real concern with respect to the classified
4     information on those videos. And I know that the
5     Government -- I know this because I -- and I trust they
6     did this. They attempted to consider other solutions to
7     that in terms of somehow masking the identity of the
8     interrogators which I understand is classified
9     information. But even if that can't be done for purposes
10    of technology, that is technologically there's no way of
11    obscuring their faces or concealing their identities, even
12    if that can't technically be done, this video is a
13    critical part of what's already in the public record about
14    this case and, from what we understand, is extremely
15    important in terms of arguments we will make regarding how
16    Mr. Al-Marri was treated and interrogated. A summary
17    really, as detailed as it may be, and we hope it's very
18    detailed, will not have the impact and will not nearly be
19    as descriptive as a video itself. I mean --
20               THE COURT: But in any event, based on the
21    classified status of it, that's not something that's going
22    to be played in open court.
23               MR. LUSTBERG: Of course not. Of course not.
24    And the Court has seen it already I take it.
25               THE COURT: I have.
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1                MR. LUSTBERG: So perhaps Your Honor, as the
2     sentencing judge, will adequately consider it just having
3     seen it, but it certainly prevents us from making perhaps
4     the quality of arguments that we could to Your Honor at
5     sentencing without again the ability to see it. And if
6     the only issue is the question of the identity of the
7     interrogators, that is something that can obviously be
8     briefed, discussed. That is, the interrogation itself is
9     something that can be briefed and discussed without in any
10    way comprising that identity. By the way, of course
11    Mr. Al-Marri knows who his interrogators were, so it's
12    not -- actually it's the one thing about this that's not
13    particularly secret in any event. But be that as it may,
14    that is a critical piece of evidence in this case and it's
15    one that we most respectfully urge the Court to allow us
16    to view as counsel with security clearance in this matter.
17               We had two other points to our brief and I want
18    to just briefly mention those. One was the issue of we
19    had requested material regarding Government interrogation
20    techniques that were applied to Mr. Al-Marri. The
21    Government declined to produce that information. Since
22    that time, as Your Honor is probably aware, there have
23    been reports in the public domain that have been released
24    regarding Government interrogation techniques, although I
25    believe that those are not -- those were CIA techniques
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1     and not necessarily pertinent to Mr. Al-Marri, although it
2     may be that his -- we're a little unclear -- it may be
3     that his name appears. They are very heavily redacted, so
4     it's very hard to tell. But it strikes me that the
5     particular techniques that were applied to Mr. Al-Marri is
6     the guts of what we want to argue here and it's precisely
7     certain things to the extent there's documentation
8     regarding it, apart from the summaries themselves, that we
9     ought to have access to and so we have requested -- and I
10    don't think -- we haven't seen any response to that, but
11    the Court hadn't contemplated a response to that. That's
12    information that we would ask the Court to compel the
13    disclosure of.
14               Finally, we also -- and let me just say, we can
15    argue from the existing public record that those very same
16    techniques that are set forth in that public record and in
17    those records were applied to Mr. Al-Marri. In some cases
18    we know they were. But obviously a more refined approach
19    to this would be one that's specific with respect to
20    Mr. Al-Marri and perhaps other enemy combatants at the
21    consolidated naval brig in Charleston and I would think
22    that's information that the Court would benefit from
23    hearing. I know it's information that we would like to
24    brief for the Court and include in our sentencing
25    presentation. It's critical information and to the extent
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1     that it exists, the Government ought to be required to
2     disclose it.
3                Our final area of information was we are aware
4     and the Government has confirmed that there is one
5     videotape of the many that at one time existed with regard
6     to Mr. Al-Marri's interrogation. It is our understanding,
7     again from the public record, that there was an
8     investigation that may have been done regarding the
9     destruction of the other videotapes of Mr. Al-Marri as
10    well as others, but obviously we're only concerned with
11    Mr. Al-Marri. We will of course argue whatever adverse
12    inferences we can from the Government's destruction of
13    this evidence, but it strikes me that a search for the
14    truth would be enhanced by actually knowing what the
15    reasons were for the destruction of those videotapes. To
16    the extent there's documentation that sets that forth, I
17    would think that that's the kind of thing that the Court
18    would want and certainly the kind of thing that we would
19    want. The Government claims that the destruction was done
20    in good faith and as a matter of routine, but that's a
21    statement that we're entitled to test in the adversarial
22    process and to the extent there is documents that bear
23    upon that testing, we would most respectfully request that
24    the Court order the Government to provide them. Other
25    than that, we rely upon the papers that we filed with
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1     respect to all matters.
2                THE COURT: Do you have any further response?
3                MS. LEVER: Your Honor, since this will be
4     short, the Government has provided Your Honor with
5     declarations from the Department of Defense explaining why
6     this information can't be turned over and we stand on
7     those declarations and this Court's prior rulings.
8                THE COURT: Okay. I'm going to take about a ten
9     minute recess. We'll be back in ten minutes.
10                            (Recess taken)
11               THE COURT: That was longer than ten minutes. I
12    apologize for that. Number one, the motion to reconsider,
13    that is reconsider as addressing the first protective
14    order entered by the Court, is denied, at least at this
15    time.
16               Mr. Lustberg, you asserted that you can be
17    trusted and I trust you. But in this context, the Court
18    feels it's the nature of the information that determines
19    who needs to know. The defense need to know here is
20    limited to giving them the opportunity to be able to fully
21    and effectively argue at sentencing that the extremely
22    harsh conditions and treatment of the defendant warrant
23    some type of reduction of sentence. There's no doubt that
24    that is extremely material to the sentencing. The 14
25    summaries, in my opinion, adequately address that without
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1     compromising national security. The information withheld
2     does not further that legitimate need in the opinion of
3     the Court. I would also say that the degree of detail
4     that exists in the documents themselves is not as great in
5     many situations as you might think.
6                The request for information requesting
7     interrogation techniques, in regard to that the Court
8     finds the deletion of certain documents from discovery is
9     appropriate. I should -- let me go back.
10               I should have started by talking about CIPA 4
11    because that's the standard that the Court is required to
12    apply here. Under CIPA the Court must find that the
13    Government has made a sufficient claim that classified
14    information is protected by national security privilege
15    and requires protection against unauthorized disclosures
16    for reasons of national security. I'm satisfied in this
17    situation that that showing has been made.
18               After such a showing is made, then in looking at
19    the information, at the documents, whatever it is, the
20    Court has three choices that can be employed. One: The
21    Court may authorize the deletion of certain documents from
22    discovery. And at this point and time anyway, that's
23    where I am on the interrogation techniques. I will point
24    out, however, that there is one issue regarding that that
25    is still pending in regard to the request that I made of
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1     counsel for the Government in my second ex-parte phone
2     call.
3                The second possibility is the substitution of a
4     summary for certain classified information contained in
5     such classified documents and that's what we have here in
6     the 14 summaries that have been so far provided.
7                The third possibility is the substitution of a
8     summary or stipulation admitting relevant facts that the
9     classified information would tend to prove. So to be
10    discoverable, the information under CIPA, the Court is
11    directed to view it carefully and where information is so
12    interrelated to classified information that the filing of
13    meaningful redacted materials would not be possible
14    without divulging classified information, summaries of the
15    classified documents can be approved and provided to the
16    defense in discovery while the originals are
17    undiscoverable.
18               As mentioned during the arguments, the
19    information must be both relevant and helpful to the
20    sentencing issues before the Court. Where the information
21    is not both relevant and helpful, it can be withheld from
22    discovery. Moreover, the discovery value must not be
23    outweighed by the potential danger to national security
24    that would follow the disclosure. So where the Court
25    finds that it is both relevant and helpful, resolving the
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1     issue calls for balancing, protecting the flow of
2     information against the individual's right to prepare his
3     defense.
4                I would note at this time, and certainly defense
5     counsel has no reason to be fully assured by this, but
6     it's not a situation where the defendant has been forced
7     to simply accept the Government's representations. The
8     documents have been submitted and independently reviewed
9     by the Court and the Court has determined in regard to the
10    first protective order that the information that was not
11    provided would not be both relevant and helpful to the
12    defendant's ability to prepare for any sentencing issues.
13               As I said before, secondly the defendant is
14    demanding a level of detail or subject matter that is
15    simply not present in the classified documents that I've
16    looked at.
17               Concerning the second protective order that's
18    pending with the Court, one of the items is the video of
19    interrogation and, as I said, the Government has -- I
20    think I can go insofar as to say that the Government has
21    tendered a proposed summary to the Court and after viewing
22    the video, reading the summary, the Court has made certain
23    recommendations to counsel for the Government concerning
24    the video, but I've not heard back from them yet and
25    hopefully that will be next week.
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1                Concerning the request for documents dealing
2     with the discovery materials concerning the destruction of
3     most of the recordings of interrogation sessions, that is
4     also pending.
5                As to both the video and this last matter, I
6     have no hesitation finding today that the Government has
7     made sufficient showing of national security privilege,
8     but that matter is still pending. I have made a request
9     to the Government concerning that matter and hopefully
10    that will be resolved next week.
11               So I believe I had three major requests for
12    information or for action concerning some of this
13    classified information that I need to hear the
14    Government's response to. If the recommendations of the
15    Court are satisfied by the Government, then I believe I'll
16    be able to go ahead and enter the second protective order.
17    If they are not approved or to the extent to which they
18    are not approved, then I expect that there will be a need
19    for this information, the information at issue, to be
20    provided to defense counsel and then we can have an
21    argument, in camera argument, on any of the unresolved
22    issues.
23               So that's where I am at this point as candidly
24    as I can state it to you. Is there anything else that we
25    should discuss today?
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1                MR. SMITH: Your Honor, one other matter, a
2     logistical matter that relates to the sentencing. Several
3     months ago Mr. Al-Marri had requested a DVD which I have
4     here that's called -- it's mostly in Arabic, but the
5     biggest reference is Islamic heritage and because of
6     various difficulties with the Bureau of Prisons that could
7     not be provided to him as a religious text so he could
8     practice his religion. However, one of the things we were
9     contemplating for sentencing was perhaps to call an
10    Islamic scholar to provide some context and background for
11    Mr. Al-Marri's conduct. For several reasons we have
12    decided not to go in that direction. What we would like
13    to do is to be able to offer perhaps some excerpts from
14    some recognized text on Islam and Islamic law. We think
15    this DVD that I have would be able to do that.
16               The problem is because of the Bureau of Prisons
17    regulations, it's not acceptable for them to just -- for
18    this to go through them to Mr. Al-Marri. What we would
19    like to do and what we would ask the Court, because we're
20    now using this not just for his religious practices but in
21    preparation for sentencing, if we could get an order from
22    the Court to permit that and I don't know whether that
23    means --
24               THE COURT: To permit him to have it?
25               MR. SMITH: To have it, review it. It's all in
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1     Arabic.
2                THE COURT: How long is it?
3                MR. SMITH: It says -- 12,000 I think is what it
4     says, so he needs to go through it and --
5                THE COURT: I still don't understand your
6     answer. How long is the video?
7                MR. SMITH: It's not a video. It's a DVD.
8                THE COURT: How long is the DVD?
9                MR. SMITH: It's just one and it has 12,000
10    pages or --
11               THE COURT: Well, is the defendant previously
12    familiar with this?
13               MR. SMITH: Yes. He had it at the naval brig.
14               THE COURT: Here's where I am. The Bureau of
15    Prisons has been very gracious to accommodate this
16    situation.
17               MR. SMITH: Yes, they have.
18               THE COURT: It's virtually unheard of to have
19    someone being held pre-trial in a facility where he is.
20    I'm not going to abuse our welcome. Having said that, if
21    it's possible for them to agree to something where he can
22    view this while you're there or even, if necessary, have
23    him brought over here for a day or whatever so that he
24    could go over this with you and review it, that's fine. I
25    don't want to deny him the opportunity to do it. I also
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1     don't want to start giving orders to the Bureau of Prisons
2     under these circumstances.
3                MR. SMITH: Well, in the first instance we'll
4     try to work it out with the Bureau of Prisons and if it
5     can't be accommodated, we'll suggest that and bring him
6     here then.
7                THE COURT: Okay. Anything else? All right.
8     Thank you very much. Have a safe trip home.
9
10                    * * * HEARING CONCLUDED * * *
11
12
13                        REPORTER'S CERTIFICATE
14              I, Karen S. Hanna, certify that the foregoing
15    transcript constitutes a true and accurate transcript of
16    the original shorthand notes of the proceedings had at the
17    time and place aforesaid before the HONORABLE MICHAEL M.
18    MIHM, U.S. District Judge.
19
                                       s/Karen S. Hanna
20                                     ______________________________
                                       Karen S. Hanna, C.S.R.
21                                     License #084-001760
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